Case 2:23-cv-00180-JRG-RSP Document 127 Filed 08/09/24 Page 1 of 18 PageID #: 4446




                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION


   AKOUSTIS   TECHNOLOGIES,   INC.,
   AKOUSTIS,     INC.,    CORNELL
   UNIVERSITY     AND     CORNELL
   RESEARCH FOUNDATION, INC.,                Case No. 2:23-cv-00180

   Plaintiffs,                               JURY TRIAL DEMANDED

   v.

   QORVO, INC.,

   Defendant.


                 DEFENDANT QORVO, INC.’S MOTION TO DISMISS PLAINTIFFS’
                  FIRST AMENDED COMPLAINT PURSUANT TO RULE 12(b)(6)
Case 2:23-cv-00180-JRG-RSP Document 127 Filed 08/09/24 Page 2 of 18 PageID #: 4447




                                                        TABLE OF CONTENTS


   I.    INTRODUCTION .................................................................................................................. 1
   II.   BACKGROUND .................................................................................................................... 2
      A.     The Parties ........................................................................................................................ 2
      B.     Qorvo Sues Akoustis For Stealing Qorvo’s Technology ................................................. 3
      C.     Akoustis Files This Retaliatory Litigation And Qorvo Moves to Dismiss ...................... 3
      D.     Plaintiffs Are In Receipt of Substantive Discovery From Qorvo and its Third-Party
      Suppliers ..................................................................................................................................... 5
      E.     Plaintiffs Fail to Identify Facts Showing Infringement of Method Claims ..................... 5
   III.     ARGUMENT ....................................................................................................................... 6
      A.     Plaintiffs fail to plausibly allege direct infringement ....................................................... 7
         1.    The FAC fails to plausibly allege that Qorvo performs any steps of the claimed
         method..................................................................................................................................... 7
         2.    The FAC is devoid of factual allegations concerning performance of step b) ............. 8
      B.     Plaintiffs fail to plausibly allege indirect infringement .................................................. 10
      C.     Plaintiffs’ Boilerplate Is Unacceptable At This Stage of the Case ................................ 12
   IV. CONCLUSION .................................................................................................................. 12




                                                                           -i-
Case 2:23-cv-00180-JRG-RSP Document 127 Filed 08/09/24 Page 3 of 18 PageID #: 4448




                                                 TABLE OF AUTHORITIES

                                                                                                                                 Page(s)
   Cases

   Addiction and Detoxification Institute L.L.C. v. Carpenter
      620 Fed. Appx. 934 (Fed. Cir. 2015) ...................................................................................2, 10

   American Vehicular Sciences LLC v. Mercedes–Benz U.S. International, Inc.
     2014 WL 10291478 (E.D. Tex. Feb. 7, 2014) .........................................................................12

   Ashcroft v. Iqbal
      556 U.S. 662 (2009) .........................................................................................................6, 7, 10

   Bell Atlantic Corp. v. Twombly
       550 U.S. 544 (2007) .........................................................................................................6, 7, 10

   In re Bill of Lading Transmission & Processing Sys. Patent Litig.
       681 F.3d 1323 (Fed. Cir. 2012)..................................................................................................7

   Chapterhouse, LLC v. Shopify, Inc.
      No. 18-cv-0300, 2018 WL 6981828 (E.D. Tex. Dec. 10, 2018) .............................................10

   DSU Med. Corp. v. JMS Co., Ltd.
     471 F.3d 1293 (Fed. Cir. 2006)................................................................................................10

   i4i Ltd. P’ship v. Microsoft Corp.
       598 F.3d 831 (Fed. Cir. 2010)....................................................................................................9

   Joy Techs., Inc. v. Flakt, Inc.
      6 F.3d 770 (Fed. Cir. 1993)........................................................................................................7

   K-Tech Telecomms., Inc. v. Time Warner Cable, Inc.
      714 F.3d 1277 (Fed Cir. 2013 ....................................................................................................7

   Lifetime Indus., Inc. v. Trim-Lok, Inc.
       869 F.3d 1372 (Fed. Cir. 2017)..................................................................................................7

   NXP U.S. v. MediaTek Inc.
     No. 21-cv-00318, 2022 WL 799071 (E.D. Tex. Mar. 15, 2022) .............................................11

   Ormco Corp. v. Align Tech., Inc.
      463 F.3d 1299 (Fed. Cir. 2006)..........................................................................................2, 7, 9

   S.A.R.L. v. Apple Inc.
       Case No. 6:14-cv-751-JDL, 2015 WL 5000397 (E.D. Tex. June 3, 2015) .............................11




                                                                     -ii-
Case 2:23-cv-00180-JRG-RSP Document 127 Filed 08/09/24 Page 4 of 18 PageID #: 4449




   Statutes

   35 U.S.C. § 271 ................................................................................................................................6

   35 U.S.C. § 271(b) .........................................................................................................................10

   Other Authorities

   Fed. R. Civ. P. Rule 11 ....................................................................................................................6




                                                                        -iii-
Case 2:23-cv-00180-JRG-RSP Document 127 Filed 08/09/24 Page 5 of 18 PageID #: 4450




   I.     INTRODUCTION

          Defendant Qorvo, Inc. (“Qorvo”) respectfully moves the Court to dismiss this case for

   failure to state a claim under Rule 12(b)(6).

          As set forth in Qorvo’s June 26, 2023 Motion to Dismiss, Plaintiffs Akoustis

   Technologies, Inc. and Akoustis, Inc.’s (collectively, “Akoustis”) original Complaint in this

   action was filed in retaliation against Qorvo for bringing trade secret claims against Akoustis in

   Delaware. The Delaware litigation has since resulted in a jury verdict in favor of Qorvo, finding

   that Akoustis willfully and maliciously misappropriated thirty seven (37) Qorvo trade secrets and

   infringed two (2) Qorvo patents.

          The original Complaint was filed by Akoustis to use as leverage in its dispute with

   Qorvo, but was legally deficient because: (i) Akoustis, as a mere licensee, cannot bring this suit

   in its name only; and (ii) Akoustis failed to allege facts adequate to state a claim of either direct

   or indirect infringement by Qorvo. Qorvo’s June 26, 2023 Motion to Dismiss sought dismissal

   for each of these reasons.

          Almost a year later, on May 24, 2024, Akoustis sought leave to add the Cornell entities

   (the patent owner) as parties, which the Court granted on July 24, 2024. Akoustis and Cornell

   thereafter jointly filed the First Amended Complaint (“FAC”) on July 26, 2024. The only

   substantive difference between the original Complaint and the FAC is the addition of Cornell as

   a named Plaintiff. The FAC did not update or modify its deficient infringement allegations

   against Qorvo—despite being on notice of the deficiencies and being in possession of substantial

   discovery from Qorvo and its third party suppliers.

          Specifically, the FAC fails to allege facts adequate to state a claim of direct infringement

   against Qorvo. As set forth below, the asserted patent includes only method claims directed to a

   manufacturing process. Plaintiffs, however, do not allege that Qorvo practices the claimed

                                                     -1-
Case 2:23-cv-00180-JRG-RSP Document 127 Filed 08/09/24 Page 6 of 18 PageID #: 4451




   manufacturing method. See FAC (Dkt. 124), ¶¶34-53. Instead, Plaintiffs allege that unidentified

   third parties (“partners and suppliers”) practice the claimed method and then sell the resulting

   products (epitaxial wafers) to Qorvo for inclusion as components in products that Qorvo sells.

   Id., ¶54. These allegations are insufficient as a matter of law for direct infringement against

   Qorvo. See, e.g., Ormco Corp. v. Align Tech., Inc., 463 F.3d 1299, 1311 (Fed. Cir. 2006)

   (“Method claims are only infringed when the claimed process is performed, not by the sale of an

   apparatus”).

           Further, the FAC’s allegation of indirect infringement against Qorvo is also inadequate.

   To state a claim for indirect infringement, Plaintiffs must allege nonconclusory facts that support

   a reasonable inference that Qorvo knowingly induced third parties to use the manufacturing

   process claimed in the asserted patent. But the FAC is entirely devoid of any such facts. Instead,

   in a single-paragraph allegation, Plaintiffs recite a boilerplate list of acts of inducement (e.g.,

   advertising a product, providing instructions) that have no applicability in the context of inducing

   a third party to perform the steps of a manufacturing process. Such conclusory and generic

   allegations, untethered to the context of this case, are insufficient. See, e.g., Addiction and

   Detoxification Institute LLC v. Carpenter, 620 F. App’x. 934, 938 (Fed. Cir. 2015) (“Simply

   repeating the legal conclusion that Defendants induced infringement or contributorily infringed

   does not plead ‘factual content that allows the court to draw the reasonable inference that the

   defendant is liable for the misconduct alleged’”).

           In view of the foregoing failures, the FAC should be dismissed.

   II.     BACKGROUND

           A.      The Parties

           Qorvo is a global supplier of semiconductor solutions. See FAC, ¶12. Qorvo maintains a

   design, sales, support, and manufacturing facility in Richardson, Texas. Id., ¶18. Akoustis

                                                     -2-
Case 2:23-cv-00180-JRG-RSP Document 127 Filed 08/09/24 Page 7 of 18 PageID #: 4452




   Technologies, Inc. and Akoustis, Inc. are both Delaware corporations with their principal places

   of business in North Carolina. Id., ¶¶7, 8. On information and belief, Cornell University is a non-

   profit education corporation located in Ithaca, New York and Cornell Research Foundation, Inc.

   is (a wholly owned subsidiary of Cornell University and a New York non-profit corporation with

   a principal place of business in Ithaca, New York. Id., ¶¶5, 6.

            B.     Qorvo Sues Akoustis For Stealing Qorvo’s Technology

            Former Qorvo employees formed Akoustis to compete against Qorvo in the market for

   bulk acoustic wave (“BAW”) filters. Rather than developing its own technology and competing

   fairly with Qorvo, Akoustis adopted a series of anticompetitive practices to shortcut the time

   needed to enter the BAW market. On October 4, 2021—nearly 18 months before Akoustis filed

   this case—Qorvo sued Akoustis in Delaware to stop these anticompetitive practices (the

   “Delaware Action”).

            On February 8, 2023, Qorvo filed an amended complaint in the Delaware Action

   asserting claims for trade secret misappropriation. The amended complaint alleges that Akoustis

   misappropriated no fewer than 86 trade secrets. Following the filing of the amended complaint,

   Qorvo continued to discover additional evidence of Akoustis’ misappropriation scheme. In total,

   Qorvo located more than 1,000 confidential and proprietary Qorvo documents in Akoustis’

   files.

            On May 17, 2024, after eight (8) days of trial, the jury in the Delaware Action found in

   favor of Qorvo and held Akoustis liable for the willful and malicious misappropriation of thirty

   seven (37) Qorvo trade secrets in addition to the infringement of two (2) Qorvo patents.

            C.     Akoustis Files This Retaliatory Litigation And Qorvo Moves to Dismiss

            After its scheme to steal Qorvo’s trade secrets was revealed in the Delaware Action,

   Akoustis was desperate to find a way to manufacture leverage over Qorvo. On April 20, 2023,

                                                    -3-
Case 2:23-cv-00180-JRG-RSP Document 127 Filed 08/09/24 Page 8 of 18 PageID #: 4453




   Akoustis filed this retaliatory lawsuit accusing Qorvo of infringing U.S. Patent No. 7,250,360

   (the “’360 patent”).

          There were two readily-apparent deficiencies in Akoustis’ original Complaint, however.

   First, Akoustis conceded it does not own the ’360 patent but is rather a mere licensee of Cornell.

   See Dkt. 1, ¶21. While Akoustis originally alleged that it had the right to bring the original

   Complaint in its name only (id.), this was not supported by the actual provisions of the License

   Agreement between Cornell and Akoustis when it was eventually produced on May 25, 2023 (it

   was not included with the Complaint). Second, Akoustis failed to allege facts adequate to state a

   claim of either direct or indirect infringement by Qorvo, for at least the reasons discussed herein

   (the FAC repeats the same infringement accusations as the original Complaint).

          Accordingly, on June 26, 2023, Qorvo filed a Motion to Dismiss Akoustis’ original

   Complaint under Rule 12(b)(6) as to both deficiencies. Dkt. 17. The Motion was fully briefed by

   July 24, 2023. Almost one year after Qorvo filed its Motion to Dismiss, Akoustis filed on May 1,

   2024, a Motion for Leave to add patent owner Cornell as a party via the FAC. Dkt. 84. The Court

   granted this Motion on July 24, 2024. Dkt. 121. Qorvo understands that the filing of the FAC has

   mooted Qorvo’s original Motion to Dismiss without the Court addressing the merits of the

   infringement allegations. Plaintiffs (Akoustis and Cornell) thereafter filed the FAC on July 26,

   2024. The only substantive difference between the original Complaint and the FAC is the

   addition of Cornell as a named Plaintiff. See, e.g., Dkt.84-5 (redline comparison between original

   Complaint and FAC). Despite months of discovery from Qorvo and its third party suppliers of

   the accused components, and despite being on notice of the deficiencies in their infringement

   allegations, Plaintiffs did not add any additional facts to the FAC supporting the allegations of

   direct and indirect infringement against Qorvo.



                                                     -4-
Case 2:23-cv-00180-JRG-RSP Document 127 Filed 08/09/24 Page 9 of 18 PageID #: 4454




          D.      Plaintiffs Are In Receipt of Substantive Discovery From Qorvo and its
                  Third-Party Suppliers

          Qorvo has produced 48,670 pages of documents to Plaintiffs, and has responded in full to

   each of Akoustis’ eighteen (18) interrogatories. Plaintiffs are also in possession of productions

   from third parties IQE and Wolfspeed, including their proprietary epitaxial wafer recipes. The

   First Amended Complaint does not cite to a single document or interrogatory response in this

   fulsome production, which Plaintiffs have not alleged to be deficient.

          E.      Plaintiffs Fail to Identify Facts Showing Infringement of Method Claims

          The ’360 patent has two independent claims (1 and 18) and 22 dependent claims. See

   Dkt. 124-1 at 7. All of the claims are method claims directed to “[a] process for growing an

   epitaxial layer on a lattice mismatched substrate.” See id (emphasis added). Plaintiffs allege that

   Qorvo directly and indirectly infringes claim 1 of the ’360 patent, which reads as follows:

                  1. A process for growing an epitaxial layer on a lattice
                  mismatched substrate comprising the steps of:

                      a) providing a substrate;

                      b) pre-treating a surface of the substrate with at least one group
                      III reactant or at least one group II reactant at an elevated
                      growth temperature prior to introducing a group V reactant or a
                      group VI reactant;

                      c) introducing a group V reactant or a group VI reactant to
                      grow a nucleation layer on the surface of the substrate; and

                      d) growing a buffer layer on said nucleation layer, said buffer
                      layer providing a surface upon which said epitaxial layer is
                      grown.

          While every asserted claim is directed to a manufacturing process for growing an

   epitaxial layer on a lattice mismatched substrate, the FAC does not allege any facts that would

   plausibly support an inference that Qorvo is engaged in such manufacturing. Rather, the FAC is

   primarily directed to allegations concerning attributes of a product (not a manufacturing


                                                   -5-
Case 2:23-cv-00180-JRG-RSP Document 127 Filed 08/09/24 Page 10 of 18 PageID #: 4455




   process) that Qorvo sells. See FAC, ¶¶37-53. Plaintiffs allege that attributes of the finished

   product are consistent with the claimed manufacturing process—e.g., Plaintiffs allege that the

   product includes a silicon carbide (SiC) substrate (id., ¶¶40-41) and an aluminum gallium nitride

   (AlGaN) layer (id., ¶¶43-53). Beyond these product-focused allegations, however, Plaintiffs do

   not allege that Qorvo actually performed any of the steps of the claimed manufacturing

   process. See id., ¶¶36-53. Instead, at critical junctures of the FAC, Plaintiffs switch to using the

   passive voice—alleging that the accused products “are made” by an unidentified party “using a

   process for growing an epitaxial layer.” Id., ¶ 36; see also id., ¶37 (QPD1000 “is made” by an

   unidentified party “using a process that grows a gallium nitride (GaN) epitaxial material on a

   silicon carbide (SiC) substrate”). 1 Elsewhere, Plaintiffs assert that there are third parties—

   “partners and suppliers”—who “are involved in the manufacturing” of the accused products. Id.,

   ¶54. While Plaintiffs include a boilerplate allegation that Qorvo induces these third parties to

   perform the claimed manufacturing process, Plaintiffs do not allege any facts supporting that

   boilerplate assertion. See id.

   III.    ARGUMENT

           The FAC should be dismissed under Rule 12(b)(6) because Plaintiffs failed to plausibly

   allege direct or indirect infringement by Qorvo under 35 U.S.C. § 271.

          To survive a motion to dismiss, a plaintiff must plead enough facts “to state a claim to

   relief that is plausible on its face.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell


   1
     The carefully-worded allegations are not an accident. Many Akoustis employees worked at
   Qorvo and, as such, Akoustis is aware that Qorvo does not manufacture the epitaxial wafers
   incorporated as components into the accused products. Plaintiffs therefore cannot allege,
   consistent with its obligations under Rule 11, that Qorvo practices the manufacturing process of
   the asserted claims. Plaintiffs thus attempts to circumvent this problem by switching to the
   passive voice and alleging that the accused products “are made” using the claimed
   manufacturing process (rather than alleging that Qorvo practices the manufacturing process).

                                                    -6-
Case 2:23-cv-00180-JRG-RSP Document 127 Filed 08/09/24 Page 11 of 18 PageID #: 4456




   Atlantic Corp. v. Twombly, 550 U.S. 544, 570 (2007)). A claim is “plausible on its face” when

   the pleaded facts allow the court to “draw the reasonable inference that the defendant is liable for

   the misconduct alleged.” Iqbal, 556 U.S. at 678. The Plaintiff need not prove its case at the

   pleading stage, nor do the “Federal Rules of Civil Procedure . . . require a plaintiff to plead facts

   establishing that each element of an asserted claim is met.” In re Bill of Lading Transmission &

   Processing Sys. Patent Litig., 681 F.3d 1323, 1335, 1339 (Fed. Cir. 2012). Instead, the

   Complaint must “place the alleged infringer ‘on notice of what activity . . . is being accused of

   infringement.’” Lifetime Indus., Inc. v. Trim-Lok, Inc., 869 F.3d 1372, 1379 (Fed. Cir. 2017)

   (quoting K-Tech Telecomms., Inc. v. Time Warner Cable, Inc., 714 F.3d 1277, 1284 (Fed. Cir.

   2013)).

             A.     Plaintiffs fail to plausibly allege direct infringement

             Plaintiffs’ allegations of direct infringement are deficient in two respects: (1) Plaintiffs do

   not (and cannot) allege that Qorvo itself performs the steps of the claimed manufacturing

   process, and (2) Plaintiffs fail to plausibly allege that anyone—whether Qorvo or a third party—

   performs step b) of claim 1: “pre-treating a surface of the substrate with at least one group III

   reactant or at least one group II reactant at an elevated growth temperature prior to introducing a

   group V reactant or a group VI reactant” in manufacturing the Accused Products.

                    1.      The FAC fails to plausibly allege that Qorvo performs any steps of the
                            claimed method

             All of the claims of the ’360 patent are method claims directed to a “process for growing

   an epitaxial layer.” It is black-letter law that “[a] method claim is directly infringed only by one

   practicing the patented method.” Joy Techs., Inc. v. Flakt, Inc., 6 F.3d 770, 775 (Fed. Cir. 1993).

   Alleging that a person sells a product does not plausibly state a claim for direct infringement of a

   method claim. Ormco Corp. v. Align Tech., Inc., 463 F.3d 1299, 1311 (Fed. Cir. 2006) (“Method


                                                       -7-
Case 2:23-cv-00180-JRG-RSP Document 127 Filed 08/09/24 Page 12 of 18 PageID #: 4457




   claims are only infringed when the claimed process is performed, not by the sale of an

   apparatus”).

          Plaintiffs first allege that Qorvo directly infringes claims of the ’360 patent “by making,

   using, selling, and/or offering for sale in the United States or importing into the United States

   infringing products, including at least the Accused Products.” FAC, ¶35. This boilerplate

   allegation of infringement does not plausibly allege that Qorvo performed the necessary steps of

   the ’360 patent’s two independent method claims.

          Plaintiffs next allege—in the passive voice—that the Accused Products include an

   epitaxial layer made using the method of the ’360 patent. FAC, ¶36. The FAC, however, is

   entirely devoid of any factual allegations that Qorvo itself manufactures the epitaxial wafers

   found in the Accused Products. See id., ¶¶35-53. To the contrary, the FAC opaquely refers to

   Qorvo purchasing epitaxial wafers from “partners and suppliers” who “are involved in the

   manufacturing” of the accused products. See id., ¶54. The failure to allege that Qorvo

   manufactures epitaxial wafers was not an accident. Plaintiff Akoustis—a company that employs

   many former Qorvo engineers—is aware that Qorvo does not manufacture the epitaxial wafers

   incorporated as components of the Accused Products and instead purchases them from

   independent third-party suppliers. As such, Plaintiffs do not (and cannot in good faith) allege that

   Qorvo performs any of the steps of the claimed “process for growing an epitaxial layer.”

                  2.      The FAC is devoid of factual allegations concerning performance of
                          step b)

          The FAC also fails to plausibly allege that anyone performs the process claimed in the

   ’360 patent. In particular, the asserted claims of the ’360 patent require, pursuant to step b) of

   claim 1, “pre-treating a surface of the substrate with at least one group III reactant or at least one

   group II reactant at an elevated growth temperature prior to introducing a group V reactant or a


                                                     -8-
Case 2:23-cv-00180-JRG-RSP Document 127 Filed 08/09/24 Page 13 of 18 PageID #: 4458




   group VI reactant” and “pre-treating the surface of a substrate . . . at an elevated growth

   temperature.” See FAC, ¶35. The FAC includes only two conclusory allegations related to this

   required feature.

          First, parroting the language of the claims, Plaintiffs assert that “[t]he Qorvo Accused

   Products comprise pre-treating a surface of the substrate with at least one group III reactant or at

   least one group II reactant at an elevated growth temperature prior to introducing a group V

   reactant or a group VI reactant.” Id., ¶42. But Plaintiffs provide no explanation of how an

   Accused Product could “comprise” a step of a method claim (see id.) and it is black letter law

   that selling a product does not constitute infringement of a method claim. See, e.g., i4i Ltd.

   P’ship v. Microsoft Corp., 598 F.3d 831, 850 (Fed. Cir. 2010) (“Because the claims asserted by

   i4i are method claims, Microsoft’s sale of Word, without more, did not infringe the ’449 patent

   [as] [d]irect infringement occurs only when someone performs the claimed method”).

          Second, with respect to the “pretreating . . . at an elevated growth temperature”

   requirement of step b) Plaintiffs assert, solely “[o]n information and belief,” that the Accused

   Product “is grown by using . . . an elevated temperature.” FAC, ¶44. Notably, this assertion is of

   pretreatment at “an elevated temperature,” not “at an elevated growth temperature.” Moreover,

   Plaintiffs fail to provide even a single factual allegation to support their conclusory assertion.

   See id. While Plaintiffs provide screenshots of various graphs allegedly representing features of

   the Accused Products (e.g., a SiC substrate, an AlGaN layer), Plaintiffs fail to explain how those

   screenshots are connected (if at all) with using an elevated growth temperature as part of the

   manufacturing process as required by the claims. 2 See id., ¶¶43-51.


   2
     In fact, in a parallel proceeding in Massachusetts, Akoustis conceded that such testing does not
   reveal the process (called a “recipe”) used to grow an epitaxial layer, including whether the
   process uses an “elevated growth temperature.” Dkt. 99 at 5.

                                                    -9-
Case 2:23-cv-00180-JRG-RSP Document 127 Filed 08/09/24 Page 14 of 18 PageID #: 4459




          As such, the FAC fails to place Qorvo on notice of what activity allegedly infringes the

   ’360 patent. See, e.g., Chapterhouse, LLC v. Shopify, Inc., No. 18-cv-0300, 2018 WL 6981828,

   at *2 (E.D. Tex. Dec. 10, 2018) (“While screenshots may be useful in laying out a plausible

   allegation of patent infringement, Plaintiff must further allege how the screenshots meet the text

   of the exemplary claim in order to lay out sufficient factual allegations which might permit the

   Court to find that the Iqbal/Twombly standard is met.”).

          B.      Plaintiffs fail to plausibly allege indirect infringement

          To state a claim for induced infringement, Plaintiffs must allege facts that would permit a

   plausible inference that Qorvo engaged in an act of inducement—i.e., “culpable conduct,

   directed to encouraging another’s infringement.” See DSU Med. Corp. v. JMS Co., Ltd., 471 F.3d

   1293, 1306 (Fed. Cir. 2006). The FAC is devoid of any such factual allegations.

          Plaintiffs dedicate only a single paragraph to its claim of induced infringement. See FAC,

   ¶53. Plaintiffs summarily allege—based solely on “information and belief”—that Qorvo

   “indirectly infringes claims of the ’360 Patent, as provided in 35 U.S.C. § 271(b), by inducing

   infringement by others.” id., ¶54. Plaintiffs then include a boilerplate allegation that Qorvo

   engaged in induced infringement by “seeking, buying, distributing, and/or otherwise having the

   Accused Products made, and providing instructions, documentation, technical support,

   marketing, product manuals, advertisements, and other information to partners and suppliers

   suggesting they make the Accused Products in an infringing manner.” Id.

          As a threshold matter, Plaintiffs’ boilerplate allegations of inducement—reciting a

   generic, disjunctive list of acts that could, theoretically, qualify as inducement without any facts

   specific to Qorvo—is precisely the type of allegation that is impermissible under Iqbal and

   Twombly. See Addiction and Detoxification Institute, 620 F. App’x. at 938 (finding that the

   plaintiff did not adequately plead indirect infringement where plaintiff alleged that defendants

                                                   -10-
Case 2:23-cv-00180-JRG-RSP Document 127 Filed 08/09/24 Page 15 of 18 PageID #: 4460




   acted “with specific intent to urge, instruct, encourage” infringement by “causing [,] urging,

   aiding, or instructing others to perform one or more claimed methods of the [] patent”).

          Moreover, Plaintiffs’ boilerplate allegations of inducement are improper (and

   incomprehensible) here because the ’360 patent is directed to a manufacturing process. In this

   context, Plaintiffs cannot rely on generic assertions that Qorvo provides “instructions,

   documentation, technical support, marketing, product manuals, advertisements” concerning the

   Accused Products. This is not a run-of-the-mill case where a company is accused of inducement

   by simultaneously selling an accused product and providing customers with instructions on how

   to use that product. See, e.g., NXP U.S. v. MediaTek Inc., No. 21-cv-00318, 2022 WL 799071, at

   *2 (E.D. Tex. Mar. 15, 2022) (“[T]he Court finds it reasonable to infer the necessary intent to

   support a claim of induced infringement from NXP’s allegations that Amazon simultaneously

   sells the products with the accused Wi-Fi chip while supplying third-parties with the cited

   literature which instructs performance of allegedly infringing uses of the technology.”). Rather,

   to allege induced infringement here, Plaintiffs were required to allege specific facts plausibly

   supporting a claim that Qorvo induced the third party supplier(s) of a component to use a

   particular manufacturing process in making that component. Under these circumstances, vague

   and conclusory allegations that Qorvo provided “instructions, documentation, technical support,

   marketing, product manuals, advertisements” are not sufficient. See, e.g., S.A.R.L. v. Apple Inc.,

   Case No. 14-cv-751, 2015 WL 5000397 at *4 (E.D. Tex. June 3, 2015) (“In a broad sense, the

   provision of instructions by an accused infringer may indicate specific intent to induce

   infringement. However, failing to allege any facts identifying, even at a basic level, which

   functionalities of the accused products are at issue, or how the instructions direct customers to

   use those products in an infringing manner, falls short of satisfying Rule 8’s notice



                                                   -11-
Case 2:23-cv-00180-JRG-RSP Document 127 Filed 08/09/24 Page 16 of 18 PageID #: 4461




   requirement.”); American Vehicular Sciences LLC v. Mercedes–Benz U.S. International, Inc.,

   2014 WL 10291478 at *4 (E.D. Tex. Feb. 7, 2014) (dismissing induced infringement claim

   where plaintiff made only general allegation that defendants provided “detailed explanations,

   instructions and information” because “naked assertions devoid of further factual enhancement

   are insufficient to state a claim”).

           C.      Plaintiffs’ Boilerplate Is Unacceptable At This Stage of the Case

           As set forth above, Plaintiffs are in possession of a fulsome technical production from

   Qorvo and the independent third parties that sell epitaxial wafers to Qorvo. At this stage of the

   litigation, Plaintiffs must have either: (i) identified facts that support its infringement assertions;

   or (ii) concluded (as they should) that Qorvo cannot infringe the Asserted Claims. If it is the

   former, Plaintiffs should have stated such facts in the FAC. If the latter, Plaintiffs should dismiss

   this case of their own accord.

   IV.     CONCLUSION

           For the foregoing reasons, Qorvo respectfully requests that the Court grant its Motion to

   Dismiss Plaintiffs’ FAC.




                                                     -12-
Case 2:23-cv-00180-JRG-RSP Document 127 Filed 08/09/24 Page 17 of 18 PageID #: 4462




   Dated: August 9, 2024    Respectfully submitted,

                            SHEPPARD, MULLIN, RICHTER & HAMPTON LLP

                            By: /s/ Robert M. Masters
                                JENNIFER KLEIN AYERS (Texas Bar No. 24069322)
                                SHEPPARD, MULLIN, RICHTER & HAMPTON LLP
                                2200 Ross Ave, 20th Floor
                                Dallas, TX 75201
                                Telephone: 469.391.7400
                                Facsimile: 469.391.7401
                                jayers@sheppardmullin.com

                                 ROBERT M. MASTERS (MD State Bar No. 14770)
                                 JONATHAN DEFOSSE (VA State Bar No. 48220)
                                 TIMOTHY P. CREMEN (MI State Bar No. P60000)
                                 SHEPPARD, MULLIN, RICHTER & HAMPTON LLP
                                 2099 Pennsylvania Ave, NW, Suite 100
                                 Washington, DC 20006
                                 Telephone: 202.747.1900
                                 Facsimile: 202.747.3369
                                 rmasters@sheppardmullin.com
                                 jdefosse@sheppardmullin.com
                                 tecremen@sheppardmullin.com


                                 Attorneys for Defendant Qorvo, Inc.




                                          -13-
Case 2:23-cv-00180-JRG-RSP Document 127 Filed 08/09/24 Page 18 of 18 PageID #: 4463




                                  CERTIFICATE OF SERVICE

         I hereby certify that, on August 9, 2024, I caused the foregoing to be served on all record

   counsel via the Court’s CM/ECF system.


                                                        /s/ Robert M. Masters
                                                        Robert M. Masters




                                                 -14-
